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                      IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT
                          OF TEXAS FORT WORTH DIVISION

 ROBERT (BOB) ROSS,                           §
  Plaintiff/Counterclaim Defendant,           §
                                              §
                                              §       Civil Action No. 4:22-CV-00343-Y
                                              §
 v.                                           §
                                              §
                                              §
                                              §
 ASSOCIATION OF PROFESSIONAL                  §
 FLIGHT ATTENDANTS, et al.                    §
  Defendants/Counterclaim Plaintiff.          §

          RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTIONS
 TO FILE AMENDED ANSWER AND COUNTERCLAIMS AND BRIEF IN SUPPORT
       Plaintiff/Counterclaim Defendant, Robert “Bob” Ross (“Ross”) respectfully submits this

response and brief in opposition to Defendants’ Motion for Leave to file an Amended Answer and

Amended Counterclaims and Brief in Support. Plaintiff filed his complaint on April 20, 2022 for

violations of his rights as a union member under 29 U.S.C. § 411, and 529 et seq. (“LMRDA”), as

well as other claims, against the Association of Professional Flight Attendants (“APFA” or the

“union”), Julie Hedrick (“Hedrick”), the APFA National President, and Erik Harris (“Harris”), the

APFA National Treasurer (hereafter referred to collectively as “Defendants”). (Doc. 1).

Defendants filed their Answer and Counterclaims on May 16, 2022. (Doc. 8). The court granted

leave to file Plaintiff’s First Amended Complaint September 15, 2022). (Doc. 40). Defendants

filed their amended Answer and Counterclaims on March 8, 2023. (Doc. 79). On August 30, 2023,

Defendant filed a Motion for Leave to Amend their Answer and Counterclaims. ( Doc. 111).

Plaintiff now files his Response in Opposition of Defendants’ Motion for Leave to Amend their

Answer and Counterclaims.




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                                                           Facts

         Plaintiff, Robert “Bob” Ross (“Plaintiff”) seeks damages alleging unlawful violations

of the Labor Management Reporting and Disclosure Act, 29 U.S.C. § 411, and 529 et seq.

(“LMRDA”), as well as other claims, against the Defendants. APFA is a labor organization

covered under the LMRDA, 29 U.S.C. §401 et seq, and 29 U.S.C. § 158, et seq. Plaintiff is a

member in good standing of APFA as defined under the LMRDA and 29 U.S.C. § 158. On or

about January of 2016, Plaintiff ran for office within the APFA national union elections. For

clarification, Robert “Bob” Ross was elected National President, Nena Martin elected National

Vice-President, Eugenio Vargas elected National Treasurer, and Marcy Dunaway elected National

Secretary (“Ross Administration”). 1 The Ross Administration held office from April 1, 2016 to

July 1, 2018, with the notable exception of Robert “Bob” Ross who resigned on March 1, 2018 at

the behest of the APFA Board of Directors.

         Ross negotiated an exit agreement similar to APFA’s previous National President, Laura

Gladings, in exchange for his resignation from office. In March of 2018, Ross and the APFA Board

of Directors signed his exit agreement and he resigned (“Ross Transition Agreement”). In 2020,

Plaintiff was charged with violations of the APFA Constitution for payments he received under

the Ross Transition Agreement. Additional charges were also pursued for credit card expenses

previously approved by APFA, furniture Ross previously paid back to the union, and an apartment

that he rented in DFW while commuting from his home in California. A disciplinary hearing was

held, and ultimately the union disciplined Plaintiff. Furthermore, Plaintiff was banned from ever

holding office for the union in his lifetime—a disciplinary measure not specifically authorized by




1
 Marcy Dunaway is no longer a member of APFA, as she has retired from American Airlines, Inc. as a flight attendant, and is
now employed as a Senior Analyst of American Airlines, Inc.



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the APFA Constitution and never before seen at APFA.

       Plaintiff argues this is a deliberate attempt to suppress his speech and affiliation with a

political party within the union. The current APFA Administration—who belong to the opposing

political faction—misrepresented to the APFA leadership and to the Plaintiff that APFA’s

accounting firm conducted an “accounting review” where it was determined that Ross owed the

union money for alleged overpayments made under the Ross Transition Agreement. The union

and the members of the Hedrick Administration argued that Vargas and Ross conspired to inflate

the payments Ross received under the Ross Transition Agreement. This “accounting review,”

rather than an audit, resulted in only graphs that were shown to the APFA Board of Directors and

APFA Executive Committee. After Plaintiff’s Disciplinary hearing, he discovered that the union

withheld a confidential memorandum from the accounting firm written to the APFA Board of

Directors that stated that Ross was, in fact, paid properly. The Confidential Memo directly

contradicts Hedrick’s Administration’s assertions to the APFA leadership.            However, this

document was concealed from APFA leadership, the Arbitrator conducting the union disciplinary

hearings, and the Plaintiff.

       Plaintiff was not provided the safeguards against improper disciplinary action guaranteed

under the LMRDA. Defendants breached their fiduciary duty among other violations. The result

of Defendants’ conduct is that Plaintiff was fined, suffered reputational damage, privacy

violations, removed from his position on the APFA Board of Directors, and banned from holding

any official APFA position for the remainder of his life. Plaintiff seeks damages.

       Defendants original counterclaims included a breach of fiduciary duty under the LMRDA

§ 501, breach of fiduciary duty under Texas Common Law, and a claim for enforcement of the

Arbitration Award. This Court dismissed the breach of fiduciary duty claim under Texas Common

Law as beyond the statute of limitations. (Doc. 72). On August 29, 2023, Plaintiff filed a Second


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Motion to Dismiss against Defendant’s breach of fiduciary duty claim under LMRDA § 501, and

Enforcement of the Arbitration Award under 29 U.S.C. § 185(a) claim. (Doc. 110). Defendant,

APFA, now seeks leave to amend its counterclaim to eliminate their claim to enforce the

Arbitration Award, leaving only Defendant’s last claim—breach of fiduciary duty claim under

LMRDA § 501.( Doc. 111). Plaintiff opposes Defendant’s Motion to Amend based on futility.

                                           Arguments

         Subsequent amendments and supplementation to a party’s claims before the court require

that the amending party first seek leave of court or obtain the opposing party’s written consent

before filing another amended complaint, understanding that leave to amend “shall be freely given

when justice so requires.” Manuel v. Gembala, 7:10-CV-4-FL, slip op. at 3 (E.D.N.C. July 27,

2011); see Rule 15, Fed. R. Civ. P. "The court should freely give leave [to amend] when justice so

requires.” Fed. R. Civ. P. 15(a)(2). Nevertheless, this generous standard is 'tempered by the

necessary power of a district court to manage a case.'” Bell v. Dall. Cnty., No. 11-11181 (5th

Cir. 2012) (citing Schiller v. Alpert Grp., 342 F.3d 563, 566 (5th Cir. 2003)).     “Similarly, ‘[a]

district court may deny a proposed amendment for futility-meaning the amended complaint would

fail to state a claim upon which relief could be granted.’” Villarreal v. Wells Fargo Bank, N.A.,

814 F.3d 763, 766 (5th Cir. 2016) (citing Stripling v. Jordan Prod. Co., LLC, 234 F.3d 863, 872-

73 (5th Cir. 2000)). See also, Petty v. Great W. Cas. Co. (5th Cir. 2019).

         Leave to amend or supplement should be granted only in the absence of “undue delay,

bad faith or dilatory motive on the part of the movant, repeated failure to cure deficiencies by

amendments previously allowed undue prejudice to the opposing party by virtue of allowance of

the amendment, or futility of the amendment.” Foman v. Davis, 371 U.S. 178, 182, 83 S. Ct. 227,

9 L. Ed. 2d 222 (1962); see Edwards v. City of Goldsboro, 178 F.3d 231, 242 (4th Cir. 1999).

1.     Business decisions are not a Breach of Fiduciary Duty under LMRDA 501(a)


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       Defendant continues to allege charges and expenses that breach the APFA Constitution

and Policy form the basis of its claim for breach of fiduciary duty under §501(a). (See Doc. 111-1

PAGEID 2328). This is not a breach of fiduciary duty. The foundation for a breach of fiduciary

duty under 29 U.S.C. § 501(a) cannot include those decisions that are business-related per standing

law. The 5th Circuit Court held that

               “disagreements over the wisdom or appropriateness of particular administrative .
               . . decisions are usually not amenable to suit under the LMRDA [referencing suits
               under § 501(a)]. Indeed, most of these matters are the sort of ‘internal union
               grievances’ properly left to be worked out via union democratic processes (as they
               eventually were here) and not by a federal court sitting as a sort of ‘super-review
               board.’” (Hoffman v. Kramer, 362 F. 3d 308, 322 (5th Cir. 2004) (citing United
               Food & Commercial Workers Union, Local 1099 v. Southwest Ohio Reg'l Transit
               Auth., 163 F.3d 341,475 (6th Cir.1998)).

Defendant claims that Plaintiff breached his fiduciary duty because Plaintiff, as APFA National

President, submitted charges incurred while conducting business on behalf of the union, and

APFA’s National Treasurer, approved those charges. Now, two years after approval, APFA claims

those charges fell outside the scope of recoverable expenses under APFA Policy—this fails to state

any claim for recovery. The basis of this claim centers on an allegedly inaccurate business decision

by Plaintiff made while in the execution of his duties as APFA National Officer.

       In other words, if Ross, as National President, charged a meal while working on behalf of

the union and believes this falls within the scope of the governing rules, he would submits his

receipt for approval—per the APFA procedures. Vargas, as National Treasurer, would review that

same charge in conjunction with APFA accountants, and if it was subsequently approved—per the

APFA procedures in place at the time based on the same assessment—then the basis for a breach

is a decision in the execution of the National Officer’s duties. Without some intentionally

subversive behavior by the Plaintiff to benefit himself, so far Defendant’s only complaint is that

Plaintiff allegedly made the wrong decision in the execution of his duties.

       Defendant fails to assert facts that rise to the level of a breach, rather Defendant only



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complains that Plaintiff’s business decisions in the execution of his duties were wrong. Plaintiff

complied with APFA procedures in place at the time. (See Vargas Aff.; Doc. 89-1). Ross submitted

receipts for charges and expenses to the Treasurer, the Vargas reviewed in conjunction with APFA

accountant and either approved of charges as valid, or inquired for additional information about a

charge prior to approval or denial. (See Vargas Aff. Doc. 89-1). If a charge was questioned and

Vargas continued to object to a particular charge as a valid expense, the Treasurer presented it to

a Board of Director member who then either approved or denied the charge as valid. (See Vargas

Aff. Doc. 89-1).

       Plaintiff did not subvert these procedures to ensure his charges were approved. Plaintiff

did not interfere with the normal processes and safeguards in place at the time to financially

benefit. Furthermore, the procedures at the time required subsequent review by APFA’s in-house

accounting department therefore, to rise to the level of a breach, Plaintiff would have to by-pass

procedures and submission of the charges altogether as each expense and payment was reviewed

by multiple people. All of the expenses incurred and payments made were reviewed and approved

according to the procedures in place while Plaintiff was in office. It was only after a competing

political party took office—over two years after the charges were originally made—that the union

decided to evaluate these business decisions.

2.     No Federal Jurisdiction exists over APFA’s Constitution and Policy.

       Defendant’s redrafted and filed its Amended Answer and Counterclaims on March 8, 2023.

(Doc. 79). Defendant submitted its proposed First Amended Answer and Counterclaims for this

Court’s consideration as a second attempt to cure the defects in Defendant’s claims against

Plaintiff. (Doc. 111). The obvious problem with Defendants’ second attempt to amend its

counterclaims is that APFA continues to argue the Plaintiff breached his fiduciary duty claim under

29 U.S.C. § 501(a) because Plaintiff violated the APFA Constitution and Policy.         All of the


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expenses incurred and payments made were reviewed and approved according to the procedures

in place while Plaintiff was in office.

       The glaring hole in Defendant’s amended counterclaim is that there is no federal

jurisdiction over APFA’s Constitution and Policy. The 5th Circuit court already ruled on this issue

under the exact same fact pattern with the exact same union Constitution and Policy at issue in this

case. In Adams-Lundy v. APFA II, the 5th Circuit held that “a federal court has no jurisdiction to

enforce union constitutions and by-laws. . . .” Adams-Lundy v. A.P.F.A, 792 F.2d 1368, 1373 (5th

Cir. 1986); See also, McGovern v. New Orleans Clerks Checkers, Local 1497 ILA,343 F. Supp.

351, 352 (E.D.La.), aff'd per curiam, 463 F.2d 423 (5th Cir. 1972).

       This Court recently followed this same Adams-Lundy II ruling when TWU brought the

same argument that violation of the union constitution was a violation of 29 U.S.C. §501(a) breach

of fiduciary duty. This Court held that:

               “’[a] union's violation of its own constitution is not per se a violation of the
               LMRDA.’ Rights guaranteed solely by a local union's constitution are contractual
               rights—not LMRDA rights—and ‘a federal court has no jurisdiction to enforce
               union constitutions and by-laws as such.’” (Martin v. Local 556, Transp. Workers
               Union of Am., CV No. 3:14-CV-0500-D (N.D. Tex. Sept. 3, 2014) (citing Adams-
               Lundy II, 792 F.2d at 1373; and McGovern v. New Orleans Clerks & Checkers,
               Local 1497 ILA, 343 F. Supp. 351, 352 (E.D. La. 1972), aff'd per curiam, 463
               F.2d 423 (5th Cir. 1972)).

       Defendant’s breach of fiduciary duty claim under §501(a) is based solely on the APFA

Constitution and by-laws in its First Amended Answer and Amended Counterclaims. (Doc. 79).

Ergo, the proposed Amended Counterclaims fails to resolve its jurisdictional defect in addition to

its failure to state a valid claim for recovery. Defendant’s Amended Counterclaim is nothing more

than a vain attempt to halt Plaintiff’s ability to run for office. However, even more concerning is

Defendant’s attempt to use the federal courts to enforce its fraudulent Arbitration Award, which

bans Plaintiff from holding public office within the union. (See Arbitration Award, Doc. 1-3; PG

1). The 5th Circuit denied any jurisdictional basis to enforce APFA’s Amended Counterclaim,



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APFA’s Arbitration Award, and APFA’s Constitution and APFA’s Policy. Regardless of how

APFA reshapes its arguments, the union cannot enforce its Constitution in federal court. 2

3. Public record shows Defendant suffered no loss or damages.

         Defendant’s damages cited in its Proposed Amended Counterclaims are the same as those

cited in Plaintiff’s damages ordered in APFA’s Arbitration Award. (Doc. 79); (See Arb Award

Doc. 1-3; PG 1).

         The independent accounting firm of Woods, Stephens, and O’Neil, L.L.P. conducts annual

audits of all expenditures made with APFA funds. The final audit report is submitted to the four

National Officers and the APFA Board of Directors for a final review and approval. This annual

audit report is used by APFA accounting staff and National Officers to draft the LM-2 Report. The

United States Department of Labor requires unions report on the LM-2 Financial Report any loss

of union assets or funds each year, even if reimbursed. The LM-2 Financial Report required by

29 U.S.C. § 431 are signed under penalty of perjury by the National Officers of APFA, including

any false statements are punishable by one year imprisonment and $10,000 fines. (29 U.S.C. §

439). Any loss of any assets for any reason on behalf of the union, whether reimbursed or not,




2
  The Court should note the previous statements made by Defendants’ Counsel on record (Vargas Dkt. No. 81)
(“Plaintiff’s settlement proposals were simply not feasible as they. . . would require the Union Defendants to take
actions which. . . would violate the APFA Constitution. . . .”). Defendant’s counsel argues it cannot, and will not,
settle the claims pending before this Court while its claims persist. Plaintiff failed to receive not even a counteroffer
in response to his offers for settlement. APFA contends that it must pursue the Ross Administration. Defendants
argue settlement of any kind would violate federal law breach of fiduciary duty and the governing union’s rules—
even if settlement is in the union membership’s best interest—they cannot and will not settle their claims.
Consequently, this Court should consider the Ross Administration’s position. Plaintiff has no other option, but to
exercise his rights to recover for Defendants’ misconduct—as well as the rest of the Ross Administration—for the
sake of their families, their reputations, and their careers. The Court should also note that APFA continues to pursue
Nena Martin and Marcie Dunaway by ordering additional audits of their expenses. This was announced within the
last two month, despite these pending claims before this Court. Nena Martin previously won in Arbitration on
these exact claims last fall. To date, APFA has not audited any other administration except for the Ross
Administration. Most notably, December is when new candidates, like Nena Martin, will announce their intent to
run for National Office next year.




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must be reported to the U.S. Department of Labor. 3 Therefore, if the Ross Administration

misappropriated funds, APFA must report this loss to the Department of Labor. (29 U.S.C. § 439).

A simple review of APFA’s LM-2 question 13 shows no reported shortage or loss suffered by the

union since 2018—when the Ross Administration filed the LM-2 reporting loss of furniture that

was fully reimbursed. The union did not suffer damages by Plaintiff’s conduct—it is that simple.

         APFA National Treasurer signed the LM-2 stating that the union suffered no loss within

the last four years. Furthermore, the only loss reported to the United States Department of Labor

includes fraud on an officer’s credit card in 2016, and loss of furniture that was reimbursed in

2018. 4 Consequently, all other LM-2s on public record indicate the union suffered no loss of its

funds—let alone indicate discovery of any alleged breach of fiduciary duty. Since the LM-2

Reports are filed under oath by the union and signed by the National Officers—the public record

shows that the Defendant cannot claim damages as a result of Plaintiff’s conduct. If it had, this

was required to be reported as a loss on its annual LM-2 filing.


3
 The LM-2 Filings require reporting whether or not an annual audit has been conducted under Question 12. Under Section 69,
on the last page of each LM-2 form, APFA cites that the accounting firm that conducted the audit was Woods, Stephens, and
O’Neil.
2023 - https://olmsapps.dol.gov/query/orgReport.do?rptId=869753&rptForm=LM2Form
2022 – https://olmsapps.dol.gov/query/orgReport.do?rptId=840723&rptForm=LM2Form
2021 - https://olmsapps.dol.gov/query/orgReport.do?rptId=773865&rptForm=LM2Form
2020 - https://olmsapps.dol.gov/query/orgReport.do?rptId=731533&rptForm=LM2Form
2019 – https://olmsapps.dol.gov/query/orgReport.do?rptId=709508&rptForm=LM2Form
2018 – https://olmsapps.dol.gov/query/orgReport.do?rptId=679829&rptForm=LM2Form
2017 – https://olmsapps.dol.gov/query/orgReport.do?rptId=650505&rptForm=LM2Form
2016 – https://olmsapps.dol.gov/query/orgReport.do?rptId=628943&rptForm=LM2Form
2015 – https://olmsapps.dol.gov/query/orgReport.do?rptId=594782&rptForm=LM2Form
4
  The LM-2 Filings require reporting any misappropriation, shortage, or theft of funds discovered within that year to the U.S.
Department of Labor. See Question 13 on Pg 1 of the following LM-2 Filings by APFA. The only years theft or shortages were
reported were in 2016 and 2018—and in 2018 the Notes under Section 69 clearly indicate that the loss was for furniture which
was fully reimbursed—therefore no damages were suffered if none were reported under the LM-2. Clearly APFA testified as to
only a loss in 2018, and that that was fully reimbursed. The LM-2 are signed by the APFA National Officers under penalty of
perjury.
2022 - https://olmsapps.dol.gov/query/orgReport.do?rptId=840723&rptForm=LM2Form
2021 - https://olmsapps.dol.gov/query/orgReport.do?rptId=773865&rptForm=LM2Form
2020 - https://olmsapps.dol.gov/query/orgReport.do?rptId=731533&rptForm=LM2Form
2019 – https://olmsapps.dol.gov/query/orgReport.do?rptId=709508&rptForm=LM2Form
2018 – https://olmsapps.dol.gov/query/orgReport.do?rptId=679829&rptForm=LM2Form
2017 – https://olmsapps.dol.gov/query/orgReport.do?rptId=650505&rptForm=LM2Form
2016 – https://olmsapps.dol.gov/query/orgReport.do?rptId=628943&rptForm=LM2Form
2015 – https://olmsapps.dol.gov/query/orgReport.do?rptId=594782&rptForm=LM2Form



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                                         CONCLUSION

In conclusion, Defendant failed to state a claim for recovery under LMRDA §501 because—as

demonstrated above—the conduct Defendant complains of consists of business decisions which

fail to rise to a breach of fiduciary duty, and Defendant testified in the U.S. Department of Labor

LM-2 Financial Reports that the union suffered no loss or damage since 2015. Furthermore, the

Court has no jurisdiction to enforce the Arbitration Award or a federal breach of fiduciary duty

claim based solely on a Union Constitution, as determined by the 5th Circuit Court in the Adams-

Lundy case. For the reasons stated herein, Plaintiff requests that the Court deny Defendants

Motion to Amend Answer and Amend Counterclaim for Relief.

 Date: September 13, 2023                            Respectfully submitted,

                                                     By: /s/ Kerri Phillips      s
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                                                      ATTORNEY FOR PLAINTIFF

                                CERTIFICATE OF SERVICE

        I certify that on this 13th day of September 2023, a true and correct copy of the foregoing
 document was served on the below listed counsel of record for Plaintiff/Counterclaim Defendant
 Ross by a means permitted by Rule 5(b)(2) of the Federal Rules of Civil Procedure (“F.R.C.P.”).

                                                     By: /s/ Kerri Phillips
                                                     Kerri Phillips, Esq.
        Jeffrey Bartos
        Charlette Matts
        James Sanford
        Michael Rake




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